Case 5:19-cv-00566-GTS-ATB Document1-1 Filed 05/13/19 Page 1 of 6

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Case 5:19-cv-00566-GTS-ATB Document1-1 Filed 05/13/19 Page 2 of 6

 
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Case 5:19-cv-00566-GTS-ATB Document 1-1 Filed 05/13/19 Page 4 of

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